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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 CRYSTALLEX INTERNATIONAL CORPORATION,

                Plaintiff,

           v.                                             Case No. 17-mc-151 (LPS)

  BOLIVARIAN REPUBLIC OF VENEZUELA,


                Defendant.


 OI EUROPEAN GROUP B.V.,

                Plaintiff,

           v.                                             Case No. 19-mc-290 (LPS)

  BOLIVARIAN REPUBLIC OF VENEZUELA,


                Defendant.


      ADDITIONAL JUDGMENT STATEMENT BY OI EUROPEAN GROUP B.V.

 Dated: August 14, 2023

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         Plaintiff, judgment creditor and conditional writ holder OI European Group B.V.

(“OIEG”), submits this Additional Judgment Statement in response to the Special Master’s letter

to the Court dated August 7, 2023 requesting statements from judgment holders in accordance with

the Sale Procedures Order. See D. Del., Case No. 17-mc-151 (“Crystallex”), D.I. 652.1

                         BACKGROUND AND PROCEDURAL HISTORY

         OIEG. OIEG is a Netherlands-incorporated company and an indirect, wholly-owned

subsidiary of O-I Glass, Inc., a Delaware corporation headquartered in Perrysburg, Ohio. OIEG

is the majority shareholder in two subsidiaries that each owned and operated valuable glass

container factories in Venezuela. These factories were unlawfully expropriated by the Hugo

Chávez regime in 2010.

         ICSID Arbitration; Award. After Venezuela, under the Chávez regime, expropriated the

two factories, OIEG commenced arbitration proceedings against Venezuela with the International

Centre for Settlement of Investment Disputes (“ICSID”) on September 7, 2011. OI European

Group B.V. v. Bolivarian Republic of Venezuela, 2019 WL 2185040, at *2 (D.D.C. 2019).

         The ICSID tribunal issued an award on March 10, 2015, finding, inter alia, that Venezuela

expropriated OIEG’s interests and was required to pay to OIEG $372,461,982 in damages for the

expropriation, and $5,750,000 in costs and expenses, plus interest (the “OIEG Award”). Id. While

the OIEG Award became “binding on the parties” under Article 53 of the ICSID Convention, id.,

Venezuela delayed enforcement with a meritless “annulment” application. The ICSID annulment

panel denied the application on December 6, 2018, reaffirmed the OIEG Award, and awarded

additional damages. OI European Group B.V., 2019 WL 2185040, at *2-3.




1
 In accordance with the Special Master’s request, OIEG attaches as Exhibit A its signed certification regarding this
additional judgment statement.
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       DC Award Recognition Proceeding; Judgment. OIEG sought recognition of the ICSID

award by commencing a recognition proceeding pursuant to 22 U.S.C. § 1650a and Article 54 of

the Convention on the Settlement of Investment Disputes between States and Nationals of Other

States, in the DC District Court on July 27, 2016. (D.D.C., Case No. 16-cv-01533-ABJ, the “DC

Proceeding”)).

       On May 21, 2019, the DC District Court granted OIEG’s motion for summary judgment,

confirmed the OIEG Award, and entered judgment (the “Judgment”) in favor of OIEG. See DC

Proceeding, Dkt. No. 84, (a copy of which is attached hereto as Exhibit B). (See also below for a

more detailed description of the Judgment).

       DE Enforcement Proceeding: Registration of Judgment; Conditional Writ.                       On

November 1, 2019, the DC District Court authorized OIEG to pursue enforcement remedies

against Venezuela pursuant to 28 U.S.C. §§ 1963 and 1610(c). DC Proceeding, D.I. 101. OIEG

registered the Judgment with the Delaware District Court pursuant to 28 U.S.C. § 1963 on

November 4, 2019, and also moved for a writ of attachment fieri facias against the shares of PDVH

held by Venezuela’s alter ego PDVSA on the basis that Venezuela was collaterally estopped from

contradicting the district court’s August 2018 decision that PDVSA is Venezuela’s alter ego. D.

Del., Case No. 19-mc-290 (“OIEG”), D.I. 1, 2.

       The Court denied OIEG’s original motion. OIEG, D.I. 26. OIEG filed a renewed motion

for a writ of attachment on February 19, 2021, OIEG, D.I. 48, which the Court granted on March

23, 2023, after finding that PDVSA was Venezuela’s alter ego. OIEG, D.I. 131.2 The Court

authorized the Clerk of the Court to affix its original signature and seal on the writ of attachment,



2
 As the Court previously noted, OIEG’s February 19, 2021 renewed motion is to be used for the date by
which OIEG’s priority of attachment is established. See Memorandum Order, Crystallex, D.I. 646 at p. 23.

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but directed it not to issue (or serve) the writ until the requisite authorization was received from

the Office of Foreign Assets Control (“OFAC”). See id., D.I. 132 at p. 2.

       The Court entered an order docketing OFAC License No. VENEZUELA-EO13884-

202301057131-1 on May 5, 2023. OIEG, D.I. 147, at pp. 7-8 (the “OFAC License”). The OFAC

License authorizes the Clerk of the Court and any Additional Judgment Creditor to “engage in

transactions and activities ordinarily incident and necessary to the issuance and service of a writ

of attachment fieri facias for any party that has been designated an ‘Additional Judgment

Creditor’” under the Sale Procedures Order. Id.

       Third Circuit Appeal; Mandate. PDVSA and Venezuela appealed the Court’s decision

and order granting OIEG’s motion for a writ of attachment on April 6, 2023. OIEG, D.I. 135, 142.

The Third Circuit imposed a temporary administrative stay on the district court proceeding on May

10, 2023, while it considered the appeal on an expedited basis; it then affirmed the district court’s

ruling on July 7, 2023, denied the motion for a stay pending appeal, and issued its judgment

(mandate) on July 28, 2023. See OIEG, D.I. 166.

                                           JUDGMENT

       The Judgment, as entered on May 21, 2019 by the DC District Court, consists of:

          $372,461,982 in principal amount, plus interest (LIBOR + 4%) from October 26, 2010
           through May 21, 2019, with annual compounding of interest; plus

          $5,750,000 in costs and expenses granted in the original arbitration proceeding, plus
           interest (LIBOR + 4%) from March 10, 2015 through May 21, 2019, with annual
           compounding of interest; plus

          $3,864,811.05 in costs and expenses relating to the annulment proceeding, plus interest
           (LIBOR + 4%) from December 6, 2018 through May 21, 2019, with annual
           compounding of interest; plus

          Post-judgment interest on the resulting total amount calculated at the rate set forth in
           28 U.S.C. § 1961, from May 21, 2019 until full payment.


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         The total initial Judgment amount awarded as of May 21, 2019, based on the formula

outlined above is $583,500,067.44 (the “Initial Judgment Amount”). See also Calculation of

Judgment, attached hereto as Exhibit C.

         OIEG has not received any payments (or recovered any property) from Venezuela or any

related party in satisfaction (partial or otherwise) of the Judgment. The full Judgment has therefore

been accruing post-judgment interest at the rate set forth in 28 U.S.C. § 1961 (i.e., 2.32%) since

May 21, 2019. See id. The total amount which is due and owing to OIEG as of August 14, 2023,

including post-judgment interest, is no less than $643,017,956.33. See id.

         Based on the above, the judgment should accrue interest at the rate of $40,651.65 per day

through May 21, 2024.3 The formula for calculating this daily interest amount is:

        May 21, 2019 – May 21, 2020: Initial Judgment Amount x (1 + 2.32%) = $597,037,269.00

         (“Year 1 Judgment Amount”)

        May 22, 2020 – May 21, 2021: Year 1 Judgment Amount x (1 + 2.32%) = $610,888,533.65

         (“Year 2 Judgment Amount”)

        May 22, 2021 – May 21, 2022: Year 2 Judgment Amount x (1 + 2.32%) = $625,061,147.63

         (“Year 3 Judgment Amount”)

        May 22, 2022 – May 21, 2023: Year 3 Judgment Amount x (1 + 2.32%) = $639,562,566.25

         (“Year 4 Judgment Amount”)

        May 22, 2023 – May 21, 2024: Year 4 Judgment Amount + Daily Interest Rate

             o Daily Interest Rate = (Year 4 Judgment Amount x 2.32%)/365 = $40,651.65




3
 Per the formula outlined below, the daily interest rate will reset on May 21, 2024, due to the compounding of the
calculation; therefore, interest shall accrue thereafter at the daily rate of $41,594.77 through May 21, 2025 until the
Judgment is repaid.

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                                         CONCLUSION

       OIEG is entitled to no less than $643,017,956.33, as of August 14, 2023, as well as

$40,651.65 in post-judgment interest per day through May 21, 2024, and thereafter, post-judgment

interest in accordance with the formula outlined herein, until the Judgment is paid in full.




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 Dated: August 14, 2023

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